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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

UNITED STATES OF AMERICA,                            )
                                                     )
       v.                                            )      Criminal Number: 3:19CR116
                                                     )      Hon. M. Hannah Lauck
DUSTIN SCOTT FILES,                                  )
                                                     )
                      Defendant.                     )

                                     NOTICE OF APPEAL

       COMES NOW the defendant, Dustin Scott Files, by counsel, and hereby notes his appeal

to the United States Court of Appeals for the Fourth Circuit from the Order entered on the criminal

docket in this case on September 13, 2021 (ECF No. 91).




                                                     Respectfully submitted,
                                                     DUSTIN SCOTT FILES
                                                     By:        /s/

                                                            Counsel


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